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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

   SYMBOLOGY INNOVATIONS, LLC,
                                                       Civil Action No.: 1:20-cv-21653-CMA
                Plaintiff,

         v.                                            TRIAL BY JURY DEMANDED

   NCL CORPORATION LTD.,

                Defendant.

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and this Court’s Order of August 3, 2020 (ECF

  #12), Plaintiff Symbology Innovations, LLC and Defendant NCL Corporation Ltd., by through

  undersigned counsel, stipulate and agree that the above-captioned action is dismissed, with

  prejudice, with each side to bear its own costs and attorney’s fees.


   Dated: August 18, 2020                         Respectfully submitted,

                                                  /s/ Howard L. Wernow
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                                                  ATTORNEY FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been served on August 18, 2020, to all counsel of record who are deemed to have consented

  to electronic service via the Court’s CM/ECF system.


                                                    /s/ Howard L. Wernow
                                                    Howard L. Wernow




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